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 1   Lee Hejmanowski (SBN 166236)
     Micheal Wright (SBN 345946)
 2   CALDARELLI HEJMANOWSKI PAGE & LEER LLP
     3398 Carmel Mountain Road, Suite 250
 3   San Diego, CA 92121
     Tele: (858) 720-8080
 4   leh@chpllaw.com; mlw@chpllaw.com
 5   Attorneys for DEFENDANTS
     DESERT LAKE GROUP, LLC and CHRIS TIRRELL ARMSTRONG
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 8                       IN THE UNITED STATES DISTRICT COURT
 9                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10    THANE CHARMAN, an individual,        Case No. 23-cv-0959-BAS-KSC
11          Plaintiff,
                                           NOTICE OF MOTION AND
12    v.                                   MOTION TO DISMISS
                                           PLAINTIFF’S AMENDED
13    DESERT LAKE GROUP, LLC d/b/a         COMPLAINT UNDER FRCP RULE
      FIRST CLASS HERB TINCTURE,           12(b)(6)
14    d/b/a FIRST CLASS
      HERBALISTCBD, d/b/a FIRST
15    CLASSHERBALIST OILS, d/b/a           Date:      February 26, 2024
      USAHERBALIST OILS, BENSON            Judge:     Cynthia Bashant
16    CHRISTOPHER HUNTER, an               Ct Rm:     12B
      individual; CHRIS TIRRELL
17    ARMSTRONG, an individual;            NO ORAL ARGUMENT UNLESS
      DARIN EDWARD TOONE, an               ORDERED BY THE COURT
18    individual, JONATHAN KENT
      VIRGIN, an individual, NICHOLAS
19    LANE JESSEN, an individual; and
      RYAN DEAN HOGGAN, an
20    individual,
21          Defendants.
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              NOTICE OF MOTION TO DISMISS AMENDED COMPLAINT
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 1         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE that on February 26, 2024, or as soon thereafter as
 3   the matter may be heard in Courtroom 12B of the United States District Court,
 4   Southern District of California, 333 W. Broadway, San Diego, CA 92101, Defendants
 5   Desert Lake Group, LLC and Chris Tirrell Armstrong (“Defendants”) will, and hereby
 6   does, move this Court to dismiss Plaintiff’s Amended Complaint with prejudice
 7   pursuant to Fed.R.Civ.P. 12(b)(6) for failure to state a claim upon which relief can be
 8   granted.
 9         This Motion is made following the conference of counsel that took place on
10   January 10, 2024.
11         This Motion is based on this Notice of Motion and Motion, Defendants’
12   Memorandum of Points and Authorities, the Request for Judicial Notice, the
13   [proposed] Order, all pleadings and papers filed in this action, all other matters on
14   which the Court may take judicial notice, and on such other and further evidence, both
15   oral and documentary, as may be presented to the Court at the hearing on the Motion.
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17   Dated: January 15, 2024         CALDARELLI HEJMANOWSKI PAGE & LEER LLP
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                                     By: /s/ Lee E. Hejmanowski
19                                     Lee E. Hejmanowski
                                       Micheal L. Wright
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                                     Attorneys for Defendants DESERT LAKE GROUP,
21                                   LLC and CHRIS TIRRELL ARMSTRONG
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                NOTICE OF MOTION TO DISMISS AMENDED COMPLAINT
